    Case 1:23-cv-00185-MAK Document 34 Filed 09/05/23 Page 1 of 5 PageID #: 124




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

JONATHAN B. GUESSFORD,                       )
                                             )
        Plaintiff,                           )
                                             )
        v.                                   )
                                             )       C.A. No. 23-185-MAK
CORPORAL STEPHEN DOUGLAS,                    )
TROOPER NICHOLAS GALLO, and                  )
MASTER CORPORAL RAIFORD BOX,                 )
                                             )
        Defendants.                          )

             DSP DEFENDANTS’ RESPONSE TO ORDER TO SHOW CAUSE

        Defendants Stephen Douglas, Nicholas Gallo, and Raiford Box (“DSP Defendants”),1 by

and through their undersigned counsel, hereby submit this response to the Court’s Order, entered

on August 30, 2023, D.I. 29, for the parties to show cause why the Court should not lift the seal

on Plaintiff Jonathan B. Guessford’s Motion to Enforce Settlement Agreement (“Motion to

Enforce”). D.I. 28. In support of keeping the motion and its exhibit sealed, DSP Defendants

submit the following:

                                        BACKGROUND

        1.      Plaintiff brought this action on February 17, 2023, alleging that DSP Defendants

violated his First, Fourth, and Fourteenth Amendment rights. See D.I. 1 (Original Compl.);

D.I. 3 (Amend. Compl.).

        2.      The parties began discovery soon thereafter. See 16, 18, 22, 24. And discovery

was set to close on August 31, 2023. D.I. 15.

        3.      Throughout discovery, the parties discussed potential terms to settle this matter.



1
  “DSP” refers to Delaware State Police, the agency which employs DSP Defendants. DSP has
the authority to negotiate case resolutions on behalf of DSP Defendants.
 Case 1:23-cv-00185-MAK Document 34 Filed 09/05/23 Page 2 of 5 PageID #: 125




But the parties never reached a final agreement.

       4.      DSP Defendants also served Plaintiff with an offer of judgment (“Offer of

Judgment”) on August 21, 2023. D.I. 26. Under Federal Rule of Civil Procedure 68, the offer of

judgment would remain open until September 5, 2023.

       5.      While the parties continued discussing potential settlement terms, Plaintiff

abruptly filed the Motion to Enforce on August 30, 2023. D.I. 28. The Motion to Enforce and

its exhibit, which is an email chain between counsel in this case, contain the substance of

settlement discussions between Plaintiff and DSP, including potential terms proposed by DSP.

       6.      Plaintiff subsequently informed DSP Defendants that he would accept the Offer

of Judgment and withdraw the Motion to Enforce.

       7.      On September 1, 2023, Plaintiff filed a notice of acceptance of the Offer of

Judgment, D.I. 30, but did not withdraw the Motion to Enforce.

       8.      The Court entered Judgment on September 1, 2023, D.I. 31, and denied the

Motion to Enforce as moot. D.I. 32.

                                          ARGUMENT

       9.      In this case, the Court should keep Plaintiff’s Motion to Enforce and its exhibit

sealed because they contain the substance of potential settlement terms, in which the interest of

confidentiality outweighs the public interest in disclosure.

       10.     The common law right of public access to judicial proceedings and records is

well-established. In re Cendant Corp., 260 F.3d 183, 192 (3d Cir. 2001) (citing Littlejohn v. BIC

Corp., 851 F.2d 673, 677-78 (3d Cir. 1988)). But courts have recognized that the presumption of

public access is not absolute and may be rebutted.             Leucadia, Inc. v. Applied Extrusion


                                                   2
 Case 1:23-cv-00185-MAK Document 34 Filed 09/05/23 Page 3 of 5 PageID #: 126




Technologies, Inc., 998 F.2d 157, 165 (3d Cir. 1993); Republic of Philippines v. Westinghouse

Elec. Corp., 949 F.2d 653, 662 (3d Cir. 1991). The party seeking to overcome the presumption

of access bears the burden of demonstrating “that the interest in secrecy outweighs the

presumption.” In re Avandia Mktg., Sales Practices & Prods. Liability Litig., 924 F.3d 662, 672

(3d Cir. 2019) (internal quotation marks and citation omitted). In doing so, the party “must show

that the material is the kind of information that courts will protect and the disclosure will work a

clearly defined and serious injury to the party seeking closure.” Id. (internal quotation marks and

citation omitted).

       11.     In considering whether sealing is appropriate, the Court may consider factors such

as privacy interests, the purpose for which information is being sought, whether disclosure will

cause a party embarrassment, whether the information is important to public health and safety,

whether disclosure will promote fairness and efficiency, whether the party benefitting from

confidentiality is a public entity, and whether the case involves important public issues.

Glenmede Trust Co. v. Thompson, 56 F.3d 476, 483 (3d Cir. 1995) (citing Pansy v. Borough of

Stroudsburg, 23 F.3d 772, 787-91 (3d Cir. 1994)).

       12.     Here, the balance of the factors weighs in favor of sealing information consisting

of the substance of settlement discussions, and specifically, proposed terms of settlement DSP

had offered to Plaintiff. DSP Defendants acknowledge that they are state employees, DSP is a

state agency, and that there has been some media interest in the case. But unsealing confidential

settlement discussions—not even a final settlement agreement—would undermine the public

interest in promoting settlements of lawsuits. See In re Paulsboro Derailment Cases, C.A. No.

13-784-KMW, 2015 WL 12835672, at *2 (D.N.J. Aug. 18, 2015) (“Federal courts agree that the


                                                 3
    Case 1:23-cv-00185-MAK Document 34 Filed 09/05/23 Page 4 of 5 PageID #: 127




public policy interest in facilitating and encouraging settlements is well-served by preserving the

confidentiality of communications made during settlement negotiations.” (internal quotation

marks and citation omitted)).

        13.    If a plaintiff can simply file the substance of settlement negotiations on the public

docket to void confidentiality, there will be a chilling effect on DSP’s willingness to engage in

candid discussions and resolve actions.      Keeping the substance of settlement negotiations

confidential promotes fairness and efficiency by encouraging parties to resolve lawsuits to

mutual benefit and avoid burdening public resources on prolonged litigation and trial. And

unlike cases where court intervention is sought to approve or interpret a settlement agreement,2

there is no judicial action needed here, as the Court has denied the Motion to Enforce as moot.

        14.    Furthermore, no other entity is seeking the disclosure of the Motion to Enforce,

and proposed settlement terms have no bearing on public health or safety. Moreover, the terms

of the accepted Offer of Judgment and that a judgment has been entered are all public

knowledge.

        15.    In the alternative to keeping the Motion to Enforce and its exhibit entirely under

seal, DSP Defendants respectfully request an opportunity to submit redactions to the Motion to

Enforce and its exhibit. 3




2
  See Sabinsa Corp. v. Herbakraft, Inc., C.A. No. 14-4738-RBK, 2017 WL 3331773, at *1
(D.N.J. Aug. 4, 2017) (granting motion to seal settlement agreement filed in connection with
motion to enforce settlement); Walsh Sec., Inc. v. Cristo Prop. Mgmt., Ltd., C.A. No. 97-3496-
MAS, 2010 WL 2680562, at *2 (D.N.J. June 30, 2010) (same).
3
  See Dobson v. Milton Hershey Sch. and Sch. Trust, C.A. No. 16-1958-MCC, 2020 WL
7405406, at *2 (M.D. Pa. Dec. 17, 2020) (keeping settlement discussions and attorney
communications redacted).
                                               4
 Case 1:23-cv-00185-MAK Document 34 Filed 09/05/23 Page 5 of 5 PageID #: 128




Dated: September 5, 2023              STATE OF DELAWARE
                                      DEPARTMENT OF JUSTICE

                                      /s/ Nicholas D. Picollelli, Jr.
                                      Nicholas D. Picollelli, Jr. (#6317)
                                      Deputy Attorney General
                                      820 North French Street, 6th Fl.
                                      Wilmington, Delaware 19801
                                      (302) 577-8400
                                      Nicolas.Picollelli@delaware.gov
                                      Counsel for DSP Defendants




                                      5
